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 4
     Attorney for Defendant: JAMEL GILL
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 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                     )        Crim. S 07-126 EJG
11                                                 )
                                      Plaintiff,   )
12                                                 )    STIPULATION AND ORDER
                          v.                       )          THEREON
13                                                 )
     JAMEL GILL,                                    )   (Continuing Status to 9/5/08)
14                                                 )
                                 Defendant,        )
15                                                 )
16         It is hereby stipulated between counsel for the government and the defendants that
17   the status conference presently scheduled for July 18, 2008 may be continued to
18   September 5, 2008 at 10;00 a.m. The parties have been engaged in fruitful negotiations
19   and this continuance is requested to allow defense counsel additional time to prepare.
20         It is further stipulated that the time between July 18, 2008 and September 5, 2008
21   can appropriately be excluded from the Speedy Trial Act pursuant to 18 USC § 18 USC
22   § 3161(h)(8)(B)(iv) (Local Code T-4).
23
24   Dated: July 16, 2008                                Dated: July 16, 2008
25   / s / Jill Thomas                                   / s / Steven D. Bauer
26   JILL THOMAS                                          STEVEN D. BAUER
     Assistant United States Attorney                     Attorney for Defendant
27
28   (Additional Signatures and Order on Following Page)
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 1   Dated: July 16, 2008
 2   / s / Shari Rusk
     SHARI RUSK
 3   Attorney for Defendant
 4   For Good Cause Appearing
     IT IS SO ORDERED
 5   Dated: July 16,, 2008
                      2008
 6
 7   /s/ Edward J. Garcia
     EDWARD J. GARCIA
 8   U. S. District Judge
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